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                 IN THE UNITED STATES BANKRUPTCY COURT FOR
                     THE NORTHERN DISTRICT OF MISSISSIPPI

IN RE:                                                                 CHAPTER 13 CASE NO.:
YOLANDA STEWART                                                               19-11188-JDW

                             OBJECTION TO CONFIRMATION

        COMES NOW the Chapter 13 Trustee, Locke D. Barkley (the “Trustee”), by and through

counsel, after conducting the Section 341(a) Meeting of Creditors, reviewing the Petition,

Schedules, and Statement of Financial Affairs, and files this Objection to Confirmation (the

“Objection”), and in support thereof states as follows:

        1.     The Debtor commenced this proceeding by filing a Voluntary Petition on March

20, 2019 (the “Petition Date”). The Debtor filed a proposed Chapter 13 Plan (Dkt. #8) (the “Plan”)

on March 25, 2019.

        2.     The Debtor is below median income and the proposed term of the Plan is sixty (60)

months. The Plan provides for a $4,000.00 pro rata distribution to nonpriority unsecured creditors.

        3.     The Debtor’s Plan fails to comply with 11 U.S.C. §§ 1325(a)(1) and

§521(e)(2)(A)(i) because the Debtor has failed to provide the Trustee with a copy of the Federal

tax return for the 2018 tax year.

        4.     The Plan fails to comply with 11 U.S.C. §§ 1325(a)(1) and 1322(a)(2) because it

fails to provide for the treatment of the priority claims of the Internal Revenue Service (Claim #14-

1) and the Mississippi Department of Revenue (Claim #18-1). The form plan approved by this

Court provides that, “[t]he treatment of ALL secured and priority debts must be provided for in

this plan.”




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       5.       The Plan fails to comply with 11 U.S.C. § 1325(a)(1). Section 3.1(a) of the Plan

provides that the ongoing mortgage payments shall be paid beginning in May 2019 to Bank of

Holly Springs (“BOHS”). However, the Trustee does not have enough funds on hand to make this

disbursement to BOHS and the other creditors at confirmation.

       6.      The Debtor’s Plan fails to comply with 11 U.S.C. §§ 1325(a)(9) and 1308. The

Debtor has failed to file Federal and state tax returns for 2017 and 2018 according to the Proofs of

Claim filed by the Internal Revenue Service (Claim #14-1) and the Mississippi Department of

Revenue (Claim #18-1).

       7.      The Debtor should timely remit all plan payments due under the Plan prior to the

hearing or the case should be dismissed for failure to comply with the proposed Plan.

       8.      For the reasons set forth herein, the Trustee submits that Confirmation of the Plan

should be denied and the case dismissed.

       WHEREFORE, PREMISES CONSIDERED, the Trustee respectfully requests that upon

notice and hearing that this Court enter its order sustaining the Objection. The Trustee prays for

other such general and specific relief to which Trustee and this bankruptcy estate may be entitled.

       Dated: May 21, 2019.

                                      Respectfully submitted,

                                      LOCKE D. BARKLEY, CHAPTER 13 TRUSTEE

                              BY:     /s/ Melanie T. Vardaman
                                      ATTORNEYS FOR TRUSTEE
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                                 CERTIFICATE OF SERVICE

       I, the undersigned attorney for the Trustee, do hereby certify that I electronically filed the
foregoing with the Clerk of Court using the CM/ECF system, and I hereby certify that I either
mailed by United States Postal Service, first class, postage prepaid, or electronically notified
through the CM/ECF system, a copy of the above and foregoing to the Debtor, attorney for the
Debtor, the United States Trustee, and other parties in interest, if any, as identified below.

       Dated: May 21, 2019.

                                              /s/ Melanie T. Vardaman
                                              MELANIE T. VARDAMAN




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